                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division

  CYNTHIA B. SCOTT, et al.,                 )
  Plaintiffs,                               )
                                            )
                                            )
  v.                                        )       Civil Action No. 3:12-cv-00036-NKM
                                            )
                                            )
  HAROLD W. CLARKE, et al.,                 )
  Defendants.                               )

       DEFENDENTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
       ORDER TO SHOW CAUSE WHY DEFENDANTS SHOULD NOT BE HELD IN
                                CONTEMPT

         COMES NOW Defendants, by counsel, and move this Honorable Court to dismiss

  Plaintiffs’ Motion for Order to Show Cause Why Defendants Should Not Be Held in Contempt

  for the reasons set forth in the accompanying Memorandum in Support of Motion to Dismiss.

         WHEREFORE, Defendants, respectfully request this Court to grant their motion and

  dismiss with prejudice Plaintiffs’ Motion for Order to Show Cause Why Defendants Should Not

  Be Held in Contempt.

                                            Respectfully submitted,
                                            HAROLD W. CLARKE, A. DAVID ROBINSON,
                                            FREDERICK SCHILLING, and PHYLLIS A.
                                            BASKERVILLE

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 10th day of October, 2017, I electronically filed the foregoing

  Response in Opposition to Plaintiffs’ Motion for Order to Show Cause Why Defendants Should

  Not Be Held in Contempt with the Clerk of the Court using the CM/ECF system, which will send

  a notification of such filing (NEF) to the following:


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        And I hereby certify that I have mailed by United States Postal Service the documents to

  the following non-CM/ECF participants: N/A.



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